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                                                                          FILED
                        UNITED STATES DISTRICT COURT                       JUL 2 4 2013
                      SOUTHERN DISTRICT OF CALIFORNIA                A
                                                                      Ct.: ~ J.S. DISTRICT COURT
                                                                   SO It R DISTRICT OF CALIFOHNIA
                                                                   BV       J                DEPUTV


UNITED STATES OF AMERICA,                   CASE NO.13CR2484-JAH-02

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
VANESSA SUE GARCIA,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the Indictment/Information:




          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: July 24, 2013
                                            PETER C. LEW S
                                            UNITED STATES       GISTRATE JUDGE
